  Case 2:16-md-02740-JTM-MBN Document 10935-1 Filed 08/13/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                            SECTION “H”

THIS DOCUMENT RELATES TO

Elizabeth Kahn, Case No. 2:16-cv-17039


MEMORANDUM IN SUPPORT OF MOTION TO FILE DEFENDANTS’ MOTION FOR
     SUMMARY JUDGMENT BASED ON PREEMPTION UNDER SEAL

       Defendants sanofi-aventis U.S. LLC and Sanofi US Services Inc. (collectively “Sanofi”),

respectfully request leave of Court to file under seal their Motion for Summary Judgment Based

on Preemption, including the Memorandum in Support, Statement of Facts, and Exhibits 1-137.

       Sanofi respectfully submits that this Court previously entered a Protective Order (“Pretrial

Order No. 50” or “PTO 50”), which governs:

       [u]nredacted information designated as “CONFIDENTIAL - SUBJECT TO
       PROTECTIVE ORDER” by the producing party that falls within one or more of
       the following categories: (a) information prohibited from disclosure by law; (b)
       information that reveals trade secrets; (c) research, technical, commercial or
       financial information that the party has maintained as confidential; (d) medical and
       protected health information (“PHI”) concerning any individual; (e) personal
       identifying information (“PII”); (f) income tax returns (including attached
       schedules and forms), W-2 forms and 1099 forms; and/or (g) personnel or
       employment records of a person who is not a party to the case.

See Pretrial Order No. 50 (Rec. Doc. No. 612-1, ¶ 2). Sanofi’s Motion and Statement of Facts

contain several references to documents which have been designated as confidential and/or

“protected information,” as set forth in PTO 50. The same is true of the source documents

themselves, which are attached as Exhibits 1–137 to the Motion. For these reasons, this Motion,

Memorandum in Support, Statement of Facts, and Exhibits 1–137 must be sealed.
  Case 2:16-md-02740-JTM-MBN Document 10935-1 Filed 08/13/20 Page 2 of 2




       Courts recognize a common law right to access judicial records and proceedings, but “the

right is not absolute.” Reichert v. Starring, No. CIV.A. 11-2171, 2011 WL 4404117, at *1 (E.D.

La. Sept. 21, 2011) (quoting Bahwell v. Stanley–Bostitch, Inc., No. CIV.A. 00–0541, 2002 WL

1298777, at *1 (E.D. La. June 10, 2002)). In this matter, the entry of PTO 50 mandates that the

pleadings at issue be sealed. See Pretrial Order No. 50 (Rec. Doc. No. 612-1, ¶ 2). Therefore,

under PTO 50 and the applicable case law, Sanofi’s Motion, Memorandum in Support, Statement

of Facts, and Exhibits 1–137 should be filed under seal.



 Respectfully submitted,

  /s/ Douglas J. Moore
 Douglas J. Moore (Bar No. 27706)                    Harley V. Ratliff
 IRWIN FRITCHIE URQUHART & MOORE LLC                 Jon Strongman
 400 Poydras Street, Suite 2700                      Adrienne L. Byard
 New Orleans, LA 70130                               SHOOK, HARDY& BACON L.L.P.
 Telephone: 504-310-2100                             2555 Grand Boulevard
 Facsimile: 504-310-2120                             Kansas City, Missouri 64108
 dmoore@irwinllc.com                                 Telephone: 816-474-6550
                                                     Facsimile: 816-421-5547
                                                     hratliff@shb.com
                                                     jstrongman@shb.com
                                                     abyard@shb.com

                                                     Counsel for sanofi-aventis U.S. LLC and
                                                     Sanofi U.S. Services Inc.


                                CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2020, I electronically filed the foregoing with the Clerk

of the Court using the ECF system which sent notification of such filing to all counsel of record.

                                                     /s/ Douglas J. Moore




                                                 2
